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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
SECURITIES AND EXHANGE               )
COMMISSION,                          )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )  Civil Action No. 23-1599 (ABJ)
                                     )
BINANCE HOLDINGS LIMITED, et al., )
                                     )
                  Defendants.        )
____________________________________)


                                              ORDER

        Upon consideration of the parties’ Joint Status Report [Dkt. # 87], the following schedule
is hereby ORDERED:

       September 21, 2023 Defendants’ responsive pleadings are due.

       November 7, 2023        Plaintiff must file any briefs in opposition to any motions to dismiss.

       December 12, 2023 Reply briefs in support of any motions to dismiss are due.

Defendants Zhao and Binance Holdings Limited must file a single consolidated pleading to the
extent possible.

         Since the SEC has already engaged in the administrative discovery that ordinarily precedes
the filing of a complaint under the Securities and Exchange Act, the Court has already authorized
the SEC to engage in the extensive early discovery detailed in the consent interim order
[Dkt. # 71], and the parties anticipate filing dispositive motions that may affect the shape of the
case, the Court in its discretion will follow its usual practice at this stage of a case and decline to
establish a schedule for merits discovery or other proceedings until the motions have been
resolved.

       SO ORDERED.


                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: June 26, 2023
